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                    UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE:        THE HONORABLE MARK A. BARNETT, CHIEF JUDGE

                                                        :
FAR EAST AMERICAN, INC., et al.,                        :
                                                        :
                                 Plaintiffs,            :       Court No. 22-00213
                                                        :
                        v.                              :
UNITED STATES,                                          :
                                                         :
                                 Defendant.             :
                                                        :
                                                        :
                                                        :
AMERICAN PACIFIC PLYWOOD, INC.,                         :
                                                        :
                                 Plaintiff,             :       Court No. 20-00214
                                                        :
                        v.                              :
                                                        :
UNITED STATES,                                          :
                                                         :
                                 Defendant.             :
                                                        :

                                               ORDER

       Upon consideration of defendant’s motion to consolidate cases, it is hereby

       ORDERED that defendant’s motion is granted; and it is further

       ORDERED that Far East American, Inc., et al., v. United States, Court No. 22-00213,

and American Pacific Plywood, Inc., v. United States, are consolidated under Far East American,

Inc., et al., v. United States, Court No. 22-00213; and it is further

       ORDERED that the administrative record to be filed in Court No. 22-00213 will serve as

the administrative record for the consolidated action, and that the record need not be filed

separately in the other cases.
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                                        _____________________________
                                                 CHIEF JUDGE
Dated:_______________, 2022




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                   UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE:        THE HONORABLE MARK A. BARNETT, CHIEF JUDGE

                                                     :
FAR EAST AMERICAN, INC., et al.,                     :
                                                     :
                               Plaintiffs,           :       Court No. 22-00213
                                                     :
                       v.                            :
UNITED STATES,                                       :
                                                      :
                               Defendant.            :
                                                     :
                                                     :
                                                     :
AMERICAN PACIFIC PLYWOOD, INC.,                      :
                                                     :
                               Plaintiff,            :       Court No. 20-00214
                                                     :
                       v.                            :
                                                     :
UNITED STATES,                                       :
                                                      :
                               Defendant.            :
                                                     :

                  DEFENDANT’S MOTION TO CONSOLIDATE CASES

       Pursuant to USCIT Rule 42, defendant, the United States, respectfully requests that the

Court consolidate Far East American, Inc., et al., v. United States, Court No. 22-00213, and

American Pacific Plywood, Inc., v. United States, Court No. 22-00214, under Far East

American, Inc., et al., v. United States, Court No. 22-00213. On August 4-5, 2022, undersigned

counsel for the Government contacted counsel Greg Menegaz, counsel for plaintiffs Far East

American, Inc. and Liberty Woods, International, Inc., (collectively FEA) and Frederic Van

Arnam, Jr., counsel for American Pacific Plywood, Inc., (APPI) via email to obtain their

positions on this motion. Counsel for both parties asked undersigned counsel for the

Government to agree to certain word limits that would potentially be allowed for each plaintiff’s
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opening and reply brief in a consolidated case. The Government submits that a discussion of

word limits is premature and can be addressed in the joint status report required under USCIT R.

56(a)(2).

       This motion should be granted for good cause. The plaintiffs in Court Nos. 22-00213 and

22-00214 are importers that are challenging, in whole or in part, the January 28, 2022 final

determination issued by U.S. Customs and Border Protection (CBP) in Enforce and Protect Act

(EAPA) Case Number 7252, and the June 6, 2022, decision issued by CBP’s Office of

Regulations and Ruling (OR&R) in administrative appeal number H323923, which affirmed the

final determination, as supplemented by OR&R on July 6, 2022 in administrative appeal number

H325765. As such, each case involves the same administrative determinations. The two cases

also involve common questions of law and fact because both complaints allege that CBP was not

authorized to initiate the EAPA investigation based upon the allegations submitted by Plywood

Source (FEA Compl., No. 22-00213, ECF No. 6, July 20, 2022, ¶¶ 43-49; APPI Compl., No. 22-

00214, ECF No. 5, July 20, 2022, ¶¶ 86-88), and both allege that CBP violated the plaintiffs’ due

process rights by not establishing a protective order so that parties could access confidential

information. FEA Compl., ¶¶ 63-66; APPI Compl., ¶¶ 97-99. Thus, consolidating these cases

will promote judicial efficiency and conserve the resources of the parties and the Court because

it will reduce the number of duplicative filings that would occur if the cases remained separate.

See USCIT Rule 1. Consolidating the cases will also eliminate the need to file separately an

administrative record and a proposed briefing schedule in each of the actions. Further, if the

cases remained separate actions, and the Court decided to remand to CBP any particular

determination in EAPA Case Number 7252, the subsequent remand redeterminations by the

agency may reach the Court at differing times, thereby resulting in a disorderly progression of



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the cases through this Court, and if appealed, through the United States Court of Appeals for the

Federal Circuit. Given these considerations, consolidating the cases is appropriate.

       For these reasons, we respectfully request that the Court grant our motion to consolidate

these cases.


                                                     Respectfully Submitted,


                                                     BRIAN M. BOYNTON
                                                     Principal Deputy Assistant Attorney General

                                                     PATRICIA M. McCARTHY
                                                     Director

                                                     /s/ Franklin E. White, Jr.
                                                     FRANKLIN E. WHITE, JR.
                                                     Assistant Director


                                                     /s/ Elizabeth A. Speck
OF COUNSEL:                                          ELIZABETH A. SPECK
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August 8, 2022                                       Attorneys for Defendant




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